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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

 Criminal Case No. 20-cr-00305-DDD

 UNITED STATES OF AMERICA,

 Plaintiff,

 v.

      1. MICHAEL AARON TEW;

      2. KIMBERLY ANN TEW; and
         a/k/a Kimberley Vertanen

      3. JONATHAN K. YIOULOS,

 Defendants.


                MICHAEL TEW’S RENEWED MOTION FOR SEVERANCE



         Mr. Michael Tew, by and through counsel Kristen M. Frost of Ridley McGreevy &

 Winocur and Jason D. Schall of Bowlin & Schall LLC, respectfully renews the request to sever

 this case on behalf of Mr. Tew. In support thereof, Mr. Tew states as follows:

                                           Introduction

         A court has a continuing duty at all stages of a trial to grant severance if prejudice

 continues to exist in a joint trial. See Schaffer v. United States, 362 U.S. 511, 516 (1960); United

 States v. Peveto, 881 F.2d 844, 857 (quoting Schaffer). That rule exits because as a practical

 matter, and not an academic one, prejudice to a defendant can manifest itself unexpectedly, at the

 last minute, after a jury is empaneled and as a criminal trial unfolds – as they often do – with

 unanticipated twists and turns, including when one co-defendant ends up inculpating the other.


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 This situation is not limited to a case where the defendants happen to be husband and wife.

 Indeed, that relationship status can actually have the opposite effect and up the ante on the

 surprise factor at trial.

         In addressing Mr. Tew’s renewed motion for severance, the Court has acknowledged its

 continuing duty to address this issue when Mr. Tew moved for a severance pursuant to Federal

 Rule of Criminal Procedure 14(a) at the conclusion of Mrs. Tew’s opening statement.             The

 Court raised United States v. Jones, 530 F.3d 1292 (10th Cir. 2008), and the government lodged

 general claims of “waiver” that are unsupported by the record. Mr. Tew maintains that nothing

 has been “waived,” or forfeited, and that severance is now ripe and required. Further, applying

 Jones actually establishes why a severance is now required based on Mr. Tew’s constitutional

 rights to due process, a fair trial, an impartial jury and his rights to confrontation and effective

 assistance of counsel. U.S. Const. ameds V, VI.

                                      Relevant Factual Background

         1.       Michael Tew and Kimberly Tew have been represented by numerous attorneys in

 this case, 1 and at times, they were jointly represented by the same attorney and/or legal team. 2

 Indeed, two different legal teams jointly represented this married couple at different times during




 1
   See Docs. 4, 13, 15, 17-18, 25, 28, 30-31, 54-55, 58, 106, 111, 136, 151, 162, 166-167, 178,
 180-182, 288-290, 305-306, 308.
 2
   See Docs. 106, 136, 151 (Entry of Appearances for Tor Elkland, and his colleagues Michael
 Hassard and Xuan Zhou on behalf of both Michael Tew and Kimberly Tew); Docs. 166, 180-182
 (Orders granting motions to withdraw as to Mr. Elkland, Mr. Hassard, and Mr. Zhou); Doc. 178
 (Entry of Appearance for Peter Bornstein on behalf of both Michael Tew and Kimberly Tew);
 Doc. 288 (Motion For Order Appointing Separate Counsel filed by Mr. Bornstein); Doc. 289
 (Order granting Mr. Bornstein’s Motion For Order Appointing Separate Counsel); Doc. 290
 (Entry of Appearance for David Kaplan on behalf of Kimberly Tew); Doc. 298 (Entry of
 Appearance for Mr. Bornstein on behalf of Michael Tew); Doc. 305 (Order withdrawing Mr.
 Bornstein as counsel for Michael Tew); Doc. 308 (Entry of Appearance for Jason Schall on
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 this case – namely, Tor Elkland and his firm, and Peter Bornstein and his firm. Eventually the

 problematic nature of this joint representation reared its head, and separate counsel from the

 Criminal Justice Act Panel were appointed to represent Mr. Tew and Mrs. Tew independently.

        2.      While representing both Mr. Tew and Mrs. Tew, Mr. Bornstein filed Defendant

 Kimberly Ann Tew’s Motion For Severance on June 13, 2022. Doc. 218. Mr. Bornstein did not

 file a severance motion on behalf of his other client, Mr. Tew. Mrs. Tew’s motion moved for a

 severance pursuant to Rule 14(a) because: (1) the joinder of Ms. Tew with her husband Michael

 Tew in this case violates the Bruton Rule because in interviews Mr. Tew had made incriminating

 statements against Mrs. Tew and at a joint trial Mrs. Tew would be unable to cross-examine Mr.

 Tew about these statements. Id. at ¶¶ 6-9.     As a basis for severance, Mrs. Tew’s motion also

 generally asserted that a joint trial was prejudicial because “of the prejudice to Ms. Tew due to

 the sheer number of counts against Michael Tew in a joint trial, the evidence admissible on those

 counts and her different degree of culpability.” Id. at ¶ 15. Again, in referring to the quantity of

 evidence and number of counts, versus a situation involving antagonistic defenses, the motion

 makes reference to the potential that jurors will not be able to follow instructions relating to Ms.

 Tew only and that the “evidence against Ms. Tew is far less than that the government intends to

 use against Michael Tew.”

        3.      Mrs. Tew’s motion makes no reference to Mr. and Mrs. Tew (Mr. Bornstein’s

 joint clients at the time) pointing fingers at one another at trial, much less the idea that Ms. Tew

 might completely blame Mr. Tew for all fraud and money laundering at trial; nor, does it even




 behalf of Michael Tew); Doc. 349 (Order appointing Jamie Hubbard on behalf of Kimberly
 Tew); Doc. 368 (Entry of Appearance for Kristen Frost on behalf of Michael Tew).
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 make a general reference to what is oftentimes referred to as the concept of “antagonistic

 defenses.” See generally id.

        4.      On August 9, 2022, the government filed its Response In Opposition To

 Defendant Kimberly Ann Tew’s Motion For Severance. Doc. 230. This Response addresses the

 Bruton claim, the quantity of evidence it has against Mr. and Mrs. Tew, including the proffer

 statements of each defendant, the “number of counts,” and the fact that there may be less

 evidence related to Mrs. Tew. Id. at ¶¶ 2-4. In addressing the main issue, the government stated

 that the Tenth Circuit “has explained that’[t]he mere fact that one co-defendant is less culpable

 than the remaining co-defendants is not alone [a] sufficient ground’ to overturn a district court

 that decides to try defendants together.” Id. at p. 6 (citing to United States v. Williams, 45 F.3d

 1481, 1484 (10th Cir. 1995)).

        5.      Counsel for Mr. and Mrs. Tew filed a Reply Re: Defendant Kimberly Ann Tew’s

 Motion For Severance on behalf of Mrs. Tew on August 23, 2022 addressing these same issues –

 Bruton and differences in the quantity of evidence implicating his clients. Doc. 248.

        6.      Neither the government’s Response, nor Mrs. Tew’s Reply, raised the concept of

 antagonistic or mutually exclusive defenses.

        7.      The Court issued its Order Denying Motion For Severance on October 27, 2022.

 Doc. 260. The Order addressed the Bruton challenge, with respect to Mr. Tew’s call with

 Jonathan Yioulos and the proffer agreements, and prejudicial joinder under Rule 14(a) with

 respect to the quantity and type of evidence related to Mr. Tew and Mrs. Tew. Id. The Order

 addressed inter alia the possibility of negative spill-over effect in a joint trial, that disparate

 culpability is not unusual in joint trials, and the inapplicability of United States v. Sarracino, 340

 F.3d 1148, 1165 (10th Cir. 2003). Id. at 7-8. Ultimately, the Court decided that the difference

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 in number of counts and culpability between Mr. and Mrs. Tew does not present a risk of real

 prejudice in this case, and nor would a jury be unable to independently evaluate Mr. and Mrs.

 Tew because they are married. Id. at 7. The Court’s Order did not address the issue of finger

 pointing, or antagonistic defenses, because that basis for severance had not been previously

 asserted by counsel for Mrs. Tew (or Mr. Tew).

        8.      No attorney has filed a motion to sever on behalf of Mr. Tew in this matter.

        9.      Discovery in this matter is voluminous. It consists of multiple terabytes of

 reports, audio recordings and transcripts, including the transcripts of the proffer interviews of

 Mr. Tew and Mrs. Tew. When the Tews gave these interviews at the beginning of this case, Mr.

 Tew requested a carve out for Mrs. Tew in his first proffer, and Mrs. Tew did the same in her

 proffer. Doc. 394.1, Exhibit A. This carve out was so that Mr. Tew could decline to answer

 questions about Mrs. Tew and all facts and alleged exposure related to her in the debriefing

 session. Mrs. Tew negotiated the same type of carve out. Doc. 394.3, Exhibit C.

        10.     Undersigned counsel for Mr. Tew has never been party to a joint defense

 agreement with current counsel for Mrs. Tew. More recently, the two sets of attorneys have

 conferred about trial logistics, for example, to be efficient and prudent. Counsel for the two

 defendants have also discussed other practical matters, such as exhibits, witness issues and other

 non-privileged, routine matters.

        11.     Undersigned counsel has not had access to Mrs. Tew’s trial strategy, work

 product or attorney-client communications. They did not have knowledge, indirect or otherwise,

 about Mrs. Tew’s defense, investigation, trial strategy or what the content of her attorney’s

 opening statement would be. Likewise, counsel for Mrs. Tew did not have access to the strategy,



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 investigation, or work product of Mr. Tew’s attorneys. Nor, did they know or have access to Mr.

 Tew’s theory of defense or what his attorney would say in opening statement.

                                                Discussion

    I. Mr. Tew Has Not Waived Or Forfeited This Severance Request Because It Was Not
       Ripe Or Timely Until After Opening Statements.

        Relying upon generalities, the government has improperly argued that Mr. Tew has

 somehow waived a specific rule and constitutional based challenge. But his severance motion is

 founded on fluid developments and evidence in an ongoing trial and there has been no

 abandonment of any known right on his part. The government’s position overlooks the fact that

 Mr. Tew’s motion could not have been raised earlier because the facts and circumstances giving

 rise to the need for a severance were not known until trial had begun.

        “Waiver is different from forfeiture. Whereas forfeiture is the failure to make the timely

 assertion of a right, waiver is the ‘intentional relinquishment or abandonment of a known

 right.’” United States v. Carrasco-Salazar, 494 F.3d 1270, 1272 (10th Cir. 2007)(quoting United

 States v. Olano, 507 U.S. 725, 733 (1993)). Waiver is accomplished by intent,

 whereas forfeiture comes about through neglect. Carrasco-Salazar, 494 F.3d at 1272. Mr. Tew

 has neither waived, nor forfeited, his right to request a severance through intent, or through

 neglect.

        The severance motion filed on behalf of Mrs. Tew raised Bruton and Sixth Amendment

 concerns and argued the fact that Mrs. Tew was facing less charges than Mr. Tew and that the

 quantity of charges and evidence may prejudice Mrs. Tew at trial. Doc. 218. The related

 response, reply and Order address only those issues.     None of these pleadings, or the related

 order, addressed antagonistic defenses, or mutually exclusive defenses, because the issue was not


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 raised by prior counsel. Contrary to the government’s prior assertions on the record during trial,

 the specific basis for severance at issue now was not addressed in prior defense motions or the

 related Order. Further, it is difficult to imagine that Mr. Tew, who was represented by the same

 attorney as Mrs. Tew and relied upon that same attorney’s advice, could have waived a known

 right to move to sever the trial based on antagonistic defenses at that stage of the case.    The

 same logic applies to forfeiture.

        Since the outset of this case, the Tews’ conduct (that which is now documented in the

 record) has not reflected antagonism, despite their status as husband and wife co-defendants.

 Before agreeing to be debriefed by the government, Mr. Tew negotiated a carve out in the terms

 and conditions of his proffer agreement so that he was not compelled to say anything about Mrs.

 Tew. Exhibit B. The transcript of the proffer meeting shows Mr. Tew trying to protect Mrs.

 Tew. See Doc. 394.1. The same is true for Mrs. Tew, who obtained the same carve out. This

 conduct shows the Tews were not contemplating antagonistic defenses at the time that Mrs.

 Tew’s motion to sever was filed. 3       Undersigned counsel cannot speak to what the client

 dynamics looked like at that stage of the case.

        Moving to more recent times, after trial in this matter was continued and new counsel

 were appointed for Mr. and Mrs. Tew, the Court scheduled another motions filing deadline.

 Doc. 338. A motion to sever was not filed at that point because the level of antagonism that exits

 now during trial, did not exist then in a way that would have substantiated filing a meritorious

 severance motion, or a ripe motion. Undersigned counsel is not at liberty to discuss client

 dynamics, client communications or client confidences at the time of the last filing deadline, or




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 now during trial. Colo. RPC 1.6, 1.7. What undersigned counsel can assert is that Mr. Tew’s

 defense team has not been, and is not, in a joint defense agreement with Mrs. Tew’s counsel.

 Mr. Tew’s counsel has had no access to Mrs. Tew’s trial strategy, communications with her

 attorneys or what approach Mrs. Tew would take at trial over the past many months.

        Criminal trials are fluid and unpredictable, and what a criminal trial will ultimately look

 like after a jury is sworn typically remains unclear during the weeks and months leading up to a

 trial. Criminal defense attorneys, for example, as a general rule do not have the ability to take

 depositions in advance of trial. Unlike in a civil matter, where discovery typically closes on a

 date certain, the government in a federal criminal case oftentimes produces discovery and

 witness statements at the last minute, and the information contained in those late disclosures

 impacts the evolving defense strategy at trial. In the practice of criminal defense work, it is

 impossible to have a crystal ball, or any reliable indication of what could happen during a trial.

        In this case, there were many last-minute events that impacted trial strategy.            For

 instance, as of the last motions filing deadline in October of 2023, the James hearing had not yet

 occurred. The defense was not on notice of what exact evidence from the James log would

 actually be admitted at trial until the Court issued its Order Regarding Admissibility Of Rule

 801(d)(2)(E) Statement on December 29, 2023. Doc. 361. The government did not file its final

 exhibit and witness lists until February 2, 2024, three days before trial. Docs. 407, 408. And,

 since the defense has no burden of proof, oftentimes defense strategy (although ongoing) is only

 solidified upon notice of how the government plans to prove its case and what evidence it will

 use to do so.



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   Mr. Tew’s second proffer letter did not contain this carve out and counsel cannot say any more
 than that. See CRPC 1.6, 1.7. Mrs. Tew had not yet been indicted at the time of this second
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          It should also be noted that the government disclosed significant additional discovery in

 the last several weeks and days leading up to trial, and these disclosures have continued during

 the trial. 4 Even today, over the lunch break the government just disclosed interview notes for

 witnesses that may testify today. That the defense has been receiving and reviewing discovery

 on an ongoing and last minute basis is another factor that has compounded the antagonistic

 nature of the positions of Mr. Tew and Mrs. Tew, as new information emerges in each new

 disclosure.

          In sum, there are several practical reasons why a pre-trial motion for severance based on

 antagonistic, or mutually exclusive defenses, was simply not appropriate, timely or ripe before

 trial.   And, the Rules of Criminal Procedure recognize that there must be room for a criminal

 defendant to move for severance after trial has begun. Rule 12 requires a defendant to file

 motions to sever before trial only if the basis for the motion was reasonably available before the

 trial and the motion can be determined without a trial on the merits. Fed. R. Crim. P.

 12(b)(3)(D).

          Also, the unique position of a criminal defendant and the rights that protect the accused

 should also be noted at this juncture. With some specific exceptions related to specific defenses

 that are not at issue here, a defendant has no obligation or duty to reveal his strategy, his general

 defenses or the core of his defense in a pleading before the Court. In fact, in almost all cases it

 would be unwise to do so. By way of analogy, in analyzing the constitutionality of a trial court’s

 order requiring a criminal defendant to produce exhibits thirty days before trial began, the




 proffer.
 4
   The defense has received hundreds of pages of new discovery over the last several weeks.
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Supreme Court of Colorado acknowledged that the special rights of the accused prohibits such

disclosures:

       The disclosure order compels Kilgore to reveal exculpatory evidence and to tip his hand
       vis-à-vis his investigation and the theory of his defense. In effect, it forces Kilgore to
       share with the prosecution his trial strategy —i.e., how he plans to defend against the
       charges brought against him. This is problematic. Gaining access to Kilgore's exhibits
       prior to trial may help the prosecution meet its burden of proof. Put differently, the
       disclosure requirement rests on shaky constitutional ground because it improperly risks
       lessening the prosecution's burden of proof.

       People v. Kilgore, 2020 CO 6, ¶ 29, 455 P.3d 746, 751.

       In this case, not only was a severance request not yet ripe before trial but filing one would

have required Mr. Tew to explain his defense strategy under Jones would have put him in the

unconstitutional position of lessening the prosecution’s burden of proof, when nothing had yet

triggered his duty to make such a motion.

       Based on all of these evolving developments and moving parts, Mr. Tew’s motion for

severance was not an untimely request, Carrasco-Salazar supra, based on all of the factors

described above and this issue has not been forfeited or waived.

   II. United States v. Jones. 530 F.3d 1292 (10th Cir. 2008) Does Not Require A Different
       Result.

       United States v. Jones. 530 F.3d 1292 (10th Cir. 2008), is inapposite to the facts of this

case because this case now involves a defense that Mrs. Tew is not guilty, because Mr. Tew is

guilty, and his guilt negates her – the classic problematic finger pointing situation. However,

applying the three-part test in Jones to the distinct facts of this case demonstrates why the Court

should grant Mr. Tew’s request for severance.

       In Jones, Ms. Jones and Mr. Wright were charged jointly for conspiracy and bank fraud

related to a check fraud scheme involving Wells Fargo. Jones, 530 F.3d at 1297. Mr. Jones was


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additionally charged with drugs and firearms offenses in this same case. Id. Prior to trial, both

defendants filed separate motions to sever. Id. at 1298. Ms. Jones moved to sever the drug and

firearm counts because she wanted to testify as to one or some counts, but not others. Mr.

Wright moved to sever his trial from Ms. Jones’ trial because he claimed that the drug trafficking

charges related to Ms. Jones would prejudice him at trial. The District Court denied both

severance requests.

       On appeal, and in relevant part, Mr. Wright argued that severance was warranted because

he and Ms. Jones presented mutually exclusive defenses. Id. at 1301. The Tenth Circuit applied

a three-step test to determine whether a defendant will be prejudiced because he and a co-

defendant will present defenses that are mutually exclusive. 5 Id. at 1304 (citing to Pursley, 474

F.3d at 765). “The conflict between the defendants' defenses must be such that the jury, in order

to believe the core of one defense, must necessarily disbelieve the core of the other.”          Id.

(quoting United States v. Dazey, 403 F.3d 1147, 1165 (10th Cir.2005) (emphasis added) (internal

quotation marks omitted). The Court held that the defenses were not so antagonistic that they

were mutually exclusive, that Mr. Wright’s guilt was not a viable legal defense for Ms. Jones and

that the core of Ms. Jones’ defense did not necessarily depend on Mr. Wright’s guilt. Id.

       Here, unlike Jones, the prejudicial nature of the joint trial is not limited to one defendant

facing additional and/or accusations of a different nature.         For example, the prejudicial


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  First, a court must determine whether the two defenses are so antagonistic that they are
mutually exclusive. Id. Second, because “mutually antagonistic defenses are not prejudicial per
se,” a court must consider whether there is “a serious risk that a joint trial would compromise a
specific trial right . . . or prevent the jury from making a reliable judgment about guilt or
innocence.” Id. (quoting Zafiro, 506 U.S. at 539). Third, if a defendant shows that the case
satisfies the first two factors, the trial court must “weigh the prejudice to a particular defendant
caused by joinder against the obviously important considerations of economy and expedition in
judicial administration.” Id. (quoting Pursley, 474 F.3d at 765).

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comments that have been presented to the jury about the antagonistic defenses in this case are not

just limited to a few examples, as was the case in Jones. See id. (Specifically referring to the

following statement made by Ms. Jones’ counsel: “[I]t will be up to you to decide when you go

back to deliberate, did Shyla Jones act knowingly and voluntarily [?]”). The finger pointing has

been present from opening statements onwards.          This is now the classic case of mutually

antagonistic defenses, which will continue to grow throughout trial, and continue to result in

uncurable prejudice to Mr. Tew.

       Under the first Jones prong, the two defenses between Mr. and Mrs. Tew are so

antagonistic now that they are mutually exclusive. Jones, 530 F.3d at 1304. Since trial has

begun, Mrs. Tew has unequivocally implicated Mr. Tew through attorney argument and cross-

examination in a manner that only suggests that Mrs. Tew is not guilty – because Mr. Tew is

guilty. Mrs. Tew said this out of the gate repeatedly during her opening statement, in a way that

the jury will likely convict Mr. Tew of all counts, and very likely may convict Mrs. Tew of none.

Ant, this argument is the very definition of a situation involving prejudicial antagonistic

defenses, or mutually exclusive ones, that developed late in the game, due to many factors,

outside of Mr. Tew’s control.

       For example, in opening statement, Mrs. Tew asserted the following: 6

       This case is about a scheme concocted and executed by Michael Tew and Jon Yioulos
       that resulted in millions of dollars of loss to National Air Cargo. (p. 19, lines 20-24)

       And yes, both of them ended up experts at that, and they worked together. They were
       both in sort of a related part of the business. The financial part of the business. And why
       is that important? It's important because the combination of these two people working
       with each other, ultimately on behalf of National Air Cargo, and then on behalf of each
       other, was what made what was otherwise a scheme very difficult to do, very difficult to
       understand, very difficult to work out, very difficult not to get caught, because this -- this
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  The rough draft transcript of opening statements is attached hereto as Exhibit A. The page
references above are citations to Exhibit A.
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      is not something that can be done by somebody that didn't know not only about finances,
      but didn't know about the finances of this company, and what they both knew is they
      knew how vendors were identified.
      (pgs 20-21, lines 23-25, 1-10).

      They knew how invoices were to be approved, and invoices would be forwarded to
      accounts payable, how invoices would then be paid out. They even knew more important
      things than that, which is, how could you fly under the radar? How could you do it so you
      don't get caught? These are -- this is not a scheme or a plan or a design, as I said, that can
      be a run-of-the-mill put together program. This is a scheme and a plan that only could be
      executed because both of these individuals knew the weaknesses at NAC.
      (p 21, lines 12-20)

      And the two of them were able to create this, create this that resulted in the loss to NAC.
      (p 22, lines 1-2)

      And the two of them together were able to function in this way, as I said, because they
      knew how to do the invoices, and set up the vendors, and they knew how to get it by,
      because Jon Yioulos was the person who could approve the invoices, send them to
      accounts payable, have his signature, on hundreds of these, saying I approve this
      payment, Jon Yioulos and Michael Tew. Then there's a whole other part of this plan of
      theirs, which is, where does the money go?
      (p 23, lines 9-16)

      There is one account that you will see this money being deposited into that Kimberly Tew
      has any signatory authority. You know what, it's Navy Federal Credit Union, and you
      will see it. Guess what? She is not the only signatory on that account, because the other
      individual who has authority to work in that account, to put money into that account and
      to take out money of that account is Michael Tew. The only one account that this money
      was distributed to from NAC into bank accounts that has Kimberly Tew's name on it, is
      also one that's jointly held with Michael.
      (p 24, lines 13-22)

      Because Michael Tew is a player, who makes money, and can make money for NAC. He
      can make money in other places, he can make money when he has worked for people in
      the marijuana industry.
      (p 25, lines 12-15)

      So distinguishing the participants, it's going to come down to a company for sure, and
      then the behavior and the design and intent and the scheme of Jon Yioulos and Michael
      Tew, and rather than just say the Tews, that seems to roll off the government's tongues,
      without making that kind of distinction that's so important.
      (p 26, lines 3-8)



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       So I ask you, as I'm sure you will, to pay close attention to who was needed for the
       scheme, who had the knowledge and the intelligence for the scheme, who got it
       through NAC, where it went from NAC to whose accounts, and after you are done
       looking at the government's case, you will realize that, while, Kimberly Tew was around
       for these years, they have not proven beyond a reasonable doubt her criminal
       participation.
       (p 26, lines 9-16)

       This opening statement, or what the evidence would show from Mrs. Tew’s perspective,

was that “they” – meaning Mr. Tew and Mr. Yioulos – are the ones who worked at NAC, had the

access, knowledge and intelligence to conspire together to commit all of the charged crimes.

Indeed, the opening started with the position that: “This case is about a scheme concocted and

executed by Michael Tew and Jon Yioulos that resulted in millions of dollars of loss to National

Air Cargo.” Exhibit A, p 19, lines 22-24. This opening statement is a classic example of finger

pointing and mutually exclusive defenses.

       The same goes for Mrs. Tew’s cross-examination of Mr. Yioulos’s statements, text

messages, interactions with Mr. Tew, and Mr. Yioulos’s testimony about documents and

invoices. This line of questioning equally implicated Mr. Tew as the guilty party who conspired

and schemed with Mr. Yioulos. And, that therefore, Mrs. Tew is not guilty. As counsel for Mr.

Tew stated on the record, this cross-examination Mrs. Tew’s attorney literally pointing his finger

at Mr. Tew numerous times. This is another classic example of mutually exclusive defenses –

Mrs. Tew did not scheme with Mr. Yioulos, but Mr. Tew did.

       Second, and although “mutually antagonistic defenses are not prejudicial per se,” the

facts here establish that there is “a serious risk that a joint trial would compromise a specific trial

right . . . or prevent the jury from making a reliable judgment about guilt or innocence.” Jones,

530 F.3d at 1304 (quoting Zafiro, 506 U.S. at 539). Based on testimony that has been elicited

from the government’s witnesses, the dynamic discussed above will continue throughout this

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trial where Mrs. Tew points to evidence that she was not involved in a conspiracy, a scheme to

defraud, illegal wires or money laundering. But, that Mr. Tew and Mr. Yioulos were. This

situation now poses a real risk that the jury will not view Mr. Tew as an individual defendant and

hold the government to its burden of proof to Mr. Tew, the same way it would if he were to be

tried without Mrs. Tew present as a co-defendant. This dynamic will continue to have an impact

on Mr. Tew’s constitutional rights to a fair trial, due process and to a fair and impartial jury that

will not be impacted by the antagonistic and mutually exclusive defense that has developed

between himself and Mr. Tew.

        Third, according to Jones, if a defendant shows that the case satisfies the first two factors,

the trial court must “weigh the prejudice to a particular defendant caused by joinder against the

obviously important considerations of economy and expedition in judicial administration.” Id.

(quoting Pursley, 474 F.3d at 765). Here, this Court should weigh this prejudice to Mr. Tew in

light of concerns over judicial economy. Mr. Tew faces 59 counts and learned for the first time

in opening statement that Mrs. Tew’s primary defense is that she is not guilty because he

committed all of these crimes. Under these circumstances, Mr. Tew’s important constitutional

rights are in sever jeopardy and no considerations of economy and convenience can outweigh

them.

        Accordingly, based on the foregoing facts and law, Michael Tew respectfully files this

renewed motion for severance pursuant to Federal Rule of Criminal Procedure 14(a) and moves

this Court to sever his trial from that of his co-defendant wife, Kimberly Tew.

                                               Respectfully submitted,

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        I hereby certify that the foregoing pleading complies with the type-volume limitation set
forth in Judge Domenico’s Practice Standard III(A)(1).


                                CERTIFICATE OF SERVICE

        I hereby certify that on this 8th day of February 2024, I served a true and correct copy of
the foregoing MICHAEL TEW’S RENEWED MOTION FOR SEVERANCE electronically
with the Clerk of the Court via the CM/ECF system, which will send notice of such filing to the
Court and parties.



                                                     s/ Heather Grant
                                                     Heather Grant




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